 Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 1 of 60 PAGEID #: 1




                   IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

YUSUF KALYANGO, PH.D.               )         CASE NO:       2:22-cv-02028
1 Banbury Drive
Athens, Ohio 45701                  )
                                              JUDGE
      Plaintiff,                    )

v.                                  )         COMPLAINT

OHIO UNIVERSITY                     )
c/o Elizabeth Sayrs, Ph.D.,                   TRIAL BY JURY DEMANDED
Executive Vice-President and        )
Provost
1 Ohio University                   )
Athens, Ohio 45701
                                    )
And
                                    )
OHIO UNIVERSITY BOARD
OF TRUSTEES                         )
Gary Cooper
Anna Harvey                         )
Jeff Laturell
Lorri Platt                         )
Ellen Gill Franks
Scott Borgemenke                    )
Misty Crosby
Janelle Coleman                     )
Peggy Viehweger
Eileen Sheil                        )
Steve Casciani
Diane Smullen                       )
Matthew Evans
Sarah Ladipo                        )
1 Ohio University
Athens, Ohio 45701                  )

      Defendants.                   )
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 2 of 60 PAGEID #: 2




                                      Nature of the Action

       Plaintiff, Dr. Yusuf Kalyango, Ph.D. (“Plaintiff” or “Dr. Kalyango”), by and through his

attorneys, brings this action against Defendant Ohio University for violations of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. 2000e-1, et seq., as amended (hereinafter referred to as “Title

VII”), and the Civil Rights Act of 1991, 42 U.S.C. 1981a, as amended; the Civil Rights Act of

1871; the Civil Rights Act of 1866, 42 U.S.C. 1981, and the Ohio Civil Rights Act, Ohio Revised

Code Chapter 4112.01 et. seq., to vindicate federal and state protected rights against unlawful

employment practices on the basis of race, gender, national origin and retaliation. Plaintiff was

issued his right to sue letter by the Ohio Civil Rights Commission on March 10, 2022.

                        Parties and Involved Employees and Agents

       1.      Plaintiff Yusuf Kalyango was, at all relevant times, a tenured Professor and director

of the Institute for International Journalism at Ohio University E.W. Scripps School of Journalism,

and is a is a resident of the State of Ohio within the Southern District of Ohio.

       2.      Defendant Ohio University is a public university operating in the State of Ohio with

its principle place of business located at Athens, Ohio.

       3.      Defendant Board of Trustees are individuals who acted as agents for Ohio

University and condoned, ratified and engaged in discriminatory conduct in their capacity as

managers of the Ohio University protocols and procedures, including procedures to discipline fully

tenured professors.

       3.      M. Duane Nellis was named President of Ohio University on or about February 22,

2017. Since becoming president of Ohio University, M. Duane Nellis promised and continues to




                                                  2
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 3 of 60 PAGEID #: 3




tout his commitment to elevate academic quality and engagement, diversity and inclusion, and

global engagement, among other things.

        4.      Chaden Djalali is currently serving as a tenured Professor of Physics and

Astronomy in the College of Arts and Sciences at Ohio University. Prior to this current academic

position, Chaden Djalali was hired from the University of Iowa and was appointed on May 7, 2018,

as the Executive Vice President and Provost of Ohio University. Djalali stepped down abruptly

from senior executive leadership in May 2019, effective immediately.

        5.      Brian Scott Titsworth is the dean of the Scripps College of Communication at Ohio

University. He is the administrative head of the unit (Scripps College of Communication) that

employs the Plaintiff, Dr. Kalyango, both as a tenured full Professor and as Director of the Institute

for International Journalism (IIJ). Titsworth is also a tenured Professor and has served as dean of

the Scripps College of Communication since 2010.

        6.       Robert K. Stewart is a retired Director of the E.W. Scripps School of Journalism

at Ohio University. He served as director from 2010 until his retirement in June 2020. He is now

Professor Emeritus of the same school. As director of the school, he was the immediate supervisor

of Plaintiff, Dr. Kalyango, both as a faculty member and as director of IIJ.

        7.       George Antonio Anaya is a Civil Rights Investigator in the Title IX Office – the

Office for Equity and Civil Rights Compliance at Ohio University. Anaya, an attorney, joined

Ohio University in May 2017 as an investigator; as well as to assure institutional compliance with

rapidly changing Title IX mandates of both the Department of Education and federal court

decisions. Ohio University was Anaya’s first higher education salaried fulltime employment in

this specific role as a civil rights investigator.




                                                     3
 Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 4 of 60 PAGEID #: 4




        8.     Sara L. Trower was the executive director of Ohio University’s Office of Civil

Rights Compliance and Title IX Coordinator. Trower was George Anaya’s supervisor. She left

her position at Ohio University in 2018.

        9.     Michael S. Sweeney is a tenured professor of journalism history in the E.W.

Scripps School of Journalism at Ohio University. He joined Ohio University in 2009 and became

associate director of graduate studies in the journalism school; advising and the administering

academic program/affairs of the journalism graduate students in the school until he resigned as the

school’s associate director of graduate studies in the spring of 2018. His immediate supervisor

was Robert Stewart (now retired) in the E.W. Scripps School of Journalism at Ohio University.

                                    Jurisdiction and Venue

        10.    This suit is authorized and instituted pursuant to Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. §§ 2000e et seq., providing for relief from discrimination in

employment on the basis of race, and pursuant to 42 U.S.C. 1981a, providing for relief from

discrimination in contractual relationships. The Ohio Revised Code §4112.02 et seq., prohibits

discrimination in employment on the basis of race, national origin and sex.

        11.    This Court has general federal question jurisdiction pursuant to 28 U.S.C. §1331.

        12.    This Court has supplemental jurisdiction of plaintiff’s state law claim pursuant to

28 U.S.C.A. §1367.

        13.    Venue is properly laid in the Southern District of Ohio under 28 U.S.C. §1391(b)

because plaintiff is a resident within the Southern District of Ohio, Defendant Ohio University is

located within the Southern District of Ohio, and the claims arose within the Southern District of

Ohio.




                                                4
 Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 5 of 60 PAGEID #: 5




                                    Administrative Process

       14.     Dr. Kalyango filed an administrative charge with the U.S. Equal Employment

Opportunity Commission (“EEOC”) on or about March 28, 2019; this charge was docketed at 532-

2019-01361.

       15.     Dr. Kalyango requested a “Right to Sue” letter on April 29, 2020, and the EEOC

issued a “Right to Sue” notice, through the U.S. Department of Justice, to Dr. Kalyango on or

about July 23, 2020.

                                     Factual Background

       16.     Dr. Kalyango is a black male, and his national origin is East Africa, of Ugandan

descent. Dr. Kalyango is a U.S. Citizen, and African American, with two interracial sons born in

Missouri and Ohio.

       17.     Dr. Kalyango earned a Ph.D. from University of Missouri - Columbia in 2008

specializing in political communication, journalism studies and comparative public opinion

research. Dr. Kalyango also has a Masters Degree in journalism with an emphasis on media

management from the University of Missouri - Columbia, 2004. Dr. Kalyango is also a Fulbright

specialist from 2015 to 2020 and an Alumni Fellow of the World Press Institute at Macalester

College, Minnesota, from 2001.

       18.     Dr. Kalyango is an author, scholar, and well-respected professor, educator and

professional. Dr. Kalyango has traveled internationally as a professional – both as a former

foreign correspondent and as an educator in more than 65 countries – for the benefit of students at

Ohio University, in his efforts to educate and teach Ohio University students about diversity.

       19.     Dr. Kalyango joined the faculty of Ohio University in the fall of 2008, teaching

broadcast news, advanced research and international journalism, foreign correspondence, media


                                                5
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 6 of 60 PAGEID #: 6




and conflicts, specialized journalism and graduate courses. Dr. Kalyango is a graduate research

advisor and consultant at various universities in central and southern Asia and Africa. Dr.

Kalyango also supervised doctoral (Ph.D.) dissertation work at Ohio University for students at

other universities in the Middle East Central Asia, and South Asia.

       20.     Some of Dr. Kalyango’s Ph.D. students (all female candidates) he directly

supervised were hired upon graduation – as assistant professors on tenure track – in public

universities that are bigger in research and in endowment than Ohio University, which elevates the

profile of the E.W. Scripps School of Journalism.

       21.     Kalyango has more than 50 academic publications (books, book chapters, scientific

journal articles, and scholarly encyclopedia entries) and is the author and editor of three scholarly

books, African Media and Democratization; Why Discourse Matters; and Global Journalism

Practice and New Media Performance. Dr. Kalyango is the former editor of a scholarly peer

reviewed mass communication journal, The International Communication Research Journal, a

publication of the International Communication Division of the Association for Education in

Journalism and Mass Communication. Since joining Ohio University, Dr. Kalyango has served

on the Executive Boards of various academic conventions and associations (or as an active

member), such as the International Communication Division of the AEJMC, ASA, the ISA

IAMCR, WJS, and others.

       22.     Some of Dr. Kalyango’s initiatives for the Institute for International Journalism

include administering annual journalism study abroad programs, two major U.S. Department of

State funded annual renewable grants called Study of the U.S. Institute (SUSI) for eighteen

journalism and media scholars from around the world, and the Mandela Washington Fellows YALI

Connect Camps. Dr. Kalyango assists in establishing annual international media workshops for



                                                 6
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 7 of 60 PAGEID #: 7




journalists and communications specialists, coordinates and organizes international research

conferences. Dr. Kalyango also coordinates other international cooperative programs with various

media advocacy institutions, as part of his teaching, mentoring and scholarship with defendant

Ohio University. This elevated the global profile of the University and the Scripps College of

Communication.

       23.     On or about April 1, 2013, Dr. Kalyango earned an accelerated promotion, with

unanimous faculty votes from the Promotion and Tenure Committee (“P&T”) of the journalism

school from the rank of Assistant Professor to Associate Professor with tenure (in just 5 years) at

Ohio University. He earned a final promotion from the rank of Associate Professor to full

Professor (in just 3 years) in the Scripps College of Communication. As of August 2018, Dr.

Kalyango is still the only tenured black full Professor at Ohio University’s School of Journalism.

       24.     Between 2012 and 2015, Dr. Kalyango gained such a prominent national and global

reputation that Ohio University strategically deterred other universities from hiring him away from

Ohio University by accelerating his promotion to full Professorship; he received “opportunity

hires” from other higher-ranked, bigger and well-endowed universities (in Florida and Texas)

during the period. Former Ohio University President, Dr. Roderick J. McDavis called Dr.

Kalyango and persuaded him to disregard those better opportunities to stay at Ohio University.

       25.     Dr. Kalyango became the first ever black minority tenured educator to earn full

Professorship in the 115-plus year history of Ohio University’s E.W. Scripps School of Journalism.

Also, notably in 2018, Dr. Kalyango was named a finalist for the prestigious Presidential Teacher

Award at Ohio University, the highest teaching honor awarded by the president/institution at Ohio

University, which no African American male professor had ever been awarded in its 30-year

history.



                                                7
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 8 of 60 PAGEID #: 8




       26.     From 2010 to 2018, Dr. Kalyango consistently received the highest peer review

of teaching and academic service, earning the faculty’s top rating of coveted “Exceeds

Expectations” rating, coupled with his exceptional external grant-seeking successes and grants

management, as well as his global engagements and outreach on behalf of the school and

University, which were the primary reasons he received an accelerated promotion to Associate

Professor with tenure and then to full Professor in record time.

                                    The Herman Complaint

       27.     In or around February 2017, a graduate student at Ohio University, Tess Herman,

a Caucasian female, inquired about and began working with the YALI Connect Camp project, as

Dr. Kalyango’s assistant.

       28.     Throughout the course of the spring of 2017, Dr. Kalyango worked with a group of

graduate students, including Ms. Herman, for purposes of coordinating the U.S. funded

international projects called the YALI Connect Camps (administered in Africa) and the SUSI (in-

coming global) programs. The summer2 YALI Connect Camps program took place in South

Africa in June of 2017. A female professor from Ohio University, Professor Mary Rogus, also

traveled to South Africa. The itinerary required Dr. Kalyango to fly from South Africa to Rwanda

on June 19 through 24, 2017 for an Ohio University funded training program. In addition to the

itinerary for the YALI Connect Camps presentations, the local program coordinator in Rwanda,

Dr. Ange Imanishimwe, also proposed a one-day pre-training program side-trip in Rwanda to

attend a tourist Gorilla Trekking activity, which Ms. Herman gladly accepted and participated in.

       29.     While in Rwanda, Ms. Herman stayed at the Lake Kivu Resort in Butare, Rwanda.

At the same time, Dr. Kalyango was scheduled to give a presentation at the President’s Office in

Rwanda and stayed at the Radisson Blu Hotel in Kigali, Rwanda, approximately six (6) hours away



                                                 8
  Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 9 of 60 PAGEID #: 9




from Butare.    While in Rwanda, Ms. Herman presented at an International Environmental

Journalism Workshop for professionals moderated by Mr. Ange Imanishimwe, sponsored by Ohio

University and the institute headed by Dr. Kalyango. Consistent with faculty norms at the

University, Dr. Kalyango commonly helps his program assistants and graduate students by

mentoring and expanding their academic and professional horizons in such ways.

       30.     While working in South Africa before the Rwanda trip, Ms. Herman was required

as part of her role in the YALI Connect Camp project to prepare a comprehensive financial report

accounting for all of the receipts and expenditures for the group on the South Africa trip.

       31.     Following their return to the United States, Ms. Herman submitted a grossly

inadequate and erroneous report to Dr. Kalyango, which failed to properly itemize, inventory or

reconcile the receipts and expenditures for the trip.

       32.     In his role as Ms. Herman’s supervisor, on or about July 5, 2017, Dr. Kalyango

advised Ms. Herman that her work was less than satisfactory, and that she should learn from her

errors in order to improve her performance on subsequent trips. Dr. Kalyango did not terminate

Ms. Herman from YALI, nor did he indicate that Ms. Herman’s employment with the

internationally-run program that was administered in the IIJ institute at Ohio University was in

jeopardy.

       33.     Upon her return to Ohio University in June, 2017, Ms. Herman immediately started

working on another major summer program called SUSI, which was also administered and headed

by Dr. Kalyango and Professor Rogus. Ms. Herman also expressed great satisfaction with her

YALI Connect Camp experience to other student-employees in the presence of Professor Rogus

in a SUSI staff meeting, expressing gratitude and her intent to participate again in the next

Ethiopia-bound YALI trip. For first three weeks upon her return, Ms. Herman did not register a



                                                  9
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 10 of 60 PAGEID #: 10




single complaint to anyone in the University regarding any negative aspect of her experience in

South Africa or Rwanda until she received the July 5, 2017 correspondence from Dr. Kalyango.

       34.     Shortly after the receipt of the July 5, 2017 correspondence from Dr. Kalyango,

Ms. Herman contacted Sara Trower, former Executive Director of University Equity and Civil

Rights Compliance and Title IX Coordinator at Ohio University, and gave false and misleading

information regarding her employment interaction with Dr. Kalyango. Namely, Ms. Herman

falsely claimed Dr. Kalyango suggested they might need to share a room based on scheduling and

availability, for the first night during the Rwanda trip at Lake Kivu, but that he would do his best

to “stay out of her way.” Significantly, Ms. Herman never claimed that Dr. Kalyango made,

suggested or inferred any sexual or romantic advances, and made no claims of physical contact of

a sexual nature. Moreover, Ms. Herman also claimed she refused the suggestion from Dr.

Kalyango indicating the situation would create the appearance of impropriety, and other

arrangements could be made.

     35.       Dr. Kalyango denies such a conversation regarding sharing a room ever occurred

and it is undisputed that Dr. Kalayngo and Ms. Herman never shared any accommodation or room

in Rwanda, nor was there ever an overture to do so during the trip to Rwanda or South Africa.

                                 The 2017 Investigation

       36.     In response to Ms. Herman’s false claim, Ms. Trower provided incorrect

information as to Ms. Herman’s rights, and the process that could be followed based on the

fabrications of Ms. Herman. Ms. Trower or other employees within the Human Resource

Department of Ohio University encouraged Herman to quit her position at YALI Connect Camps

in order to create an alleged policy violation against Dr. Kalyango. That is, Ms. Herman conceded

in communications to friends that she learned from Ms. Trower and others in Ms. Trower’s



                                                10
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 11 of 60 PAGEID #: 11




department that Ms. Herman could create a claim against Dr. Kalyango if she claimed she was

terminated, or if she resigned, suggesting such termination or forced resignation was retaliatory

based on Ms. Herman’s alleged refusal to share a room in Rwanda.

       37.     On July 6, 2017, the day after she received the correspondence of criticism from

Dr. Kalyango, Ms. Herman presented a Title IX complaint to the Executive Director and Title IX

Coordinator for the University Equity and Civil Rights Compliance Panel (“ECRC”). The

complaint was presented after Ms. Herman received the prejudicial and improper instructions on

how to fabricate a claim from Ms. Trower and her associates. At that point, Ohio University

initiated a severely flawed and discriminatory investigation by investigator, George Anaya.

       38.     To further perpetuate the false claim, on July 10, 2017, Ms. Herman voluntarily

resigned from her position as program assistant for the SUSI program, per the advice of an

employee of Ohio University’s Human Resources office. Ms. Herman, following the false script

created by Ohio University, claimed she was forced to resign.

       39.     Mr. Anaya began an investigation in July of 2017 which lasted through August 24

of 2018, when a “Memorandum of Findings” was issued. Under Ohio University’s policies, as

well as state and federal law, Ms. Herman’s complaint should have been investigated and resolved

expeditiously within ninety (90) days.     Mr. Anaya failed to provide Dr. Kalyango with “an

anticipated timeline for completion of the investigation” as required by Ohio University’s Faculty

Handbook. In fact, no aspect of the investigation was based on any standard set by Ohio

University, nor was the investigation prompt or remedial.

       40.     Mr. Anaya was directed and supervised by Ms. Trower or others within Ohio

University, who contributed to and were aware of the lack of proper protocol and duration of the

flawed and result-oriented investigation. This so-called investigation into Dr. Kalyango’s alleged



                                               11
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 12 of 60 PAGEID #: 12




inappropriate behavior violated essentially every standard, common practice, procedure and

guideline readily and easily available to human resource and legal professionals. Significantly,

the “investigation” was anything but prompt, thorough or impartial, as required by the EEOC.

       41.     Ms. Herman produced no evidence or corroboration to support her allegations, and

Mr. Anaya completely disregarded the fact that Dr. Kalyango was scheduled to work in a region

approximately six (6) hours away in Rwanda from the hotel in the East African country of Rwanda,

where Ms. Herman alleged Dr. Kalyango suggested they might need to share a room. The flawed

investigation was discriminatory based on Dr. Kalyango’s race and national origin.

       42.     Mr. Anaya also disregarded the statements of several key witnesses presented by

Dr. Kalyango, including two Ohio University senior female professors, which validated the

statements and evidence presented by Dr. Kalyango.         Anaya also disregarded exculpatory

statements from the host-coordinator in Rwanda, Dr.Imanishimwe, another African, who was with

Ms. Herman throughout her time in Rwanda. Anya’s failure to utilize exculpatory evidence was

caused by a discriminatory animus based upon Dr. Kalyango’s race and national origin.

       43.     Mr. Anaya prepared his report with a discriminatory animus, based upon Dr.

Kalyango’s race and national origin, depicting Rwanda in particular, and Africa in general (Dr.

Kalyango’s continent of origin), as a dangerous place and region. This racial bias lead Mr. Anaya

to make conclusions based on statements wholly unsupported by the evidence.

       44.     During the entire year within which the investigation commenced, Dr. Kalyango

was not placed on administrative leave, but continued with his teaching and other responsibilities

at Ohio University. These undisputed facts verify that the allegations fabricated by Ms. Herman,

even if true, were not issues of safety, nor was Ms. Herman so distraught that she needed

protection. In fact, Ms. Herman was under no true threat of harm, was not harmed through any of



                                               12
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 13 of 60 PAGEID #: 13




the alleged activities forming the basis of the bad faith complaint, establishing that the underlying

facts of the alleged complaint were benign.

       45.     Defendants timed the release of Mr. Anaya’s Memorandum of Findings just a few

days before fall classes were to begin at Ohio University on August 24, 2018, so as to generate the

most dramatic and negative impact on Dr. Kalyango’s employment and reputation.

       46.     In mid-August 2018, Ohio University signed a new policy into effect that created a

University Professional Ethics Committee (“UPEC”). Due to the excessive delay in Mr. Anaya’s

investigation, Dr. Kalyango was subject to the new procedure adopted by Ohio University after

the changes officially came into effect in mid-August 2018, which allowed Ohio University to

more easily de-tenure and/or dismiss professors.

       47.     Under either policy adopted by Ohio University, the alleged conduct of Dr.

Kalyango was so insubstantial that even if the allegations were deemed true, the remedial action

necessary would have been counseling, education or similar corrective measures, which are

measures that have been taken by Ohio University when the subject of investigations involving

far more serious conduct were American, Caucasian, and/or female. Ohio University chose to treat

Dr. Kalyango’s issues differently based on his race, national origin and gender, thereby

discriminating against him, and treating him differently than other employees who were American

born, Caucasian or female.

       48.     A proper investigation and oversight would have never resulted in an effort to

terminate or de-tenure any professor under these facts, absent a discriminatory animus by Ohio

University through its employees and agents.

       49.     In delaying its investigation for over a year, Ohio University did not follow EEOC

or the United States Supreme Court’s directives to conduct prompt and remedial action with



                                                 13
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 14 of 60 PAGEID #: 14




respect to any investigation of alleged misconduct. The failure of Mr. Anaya, Ms. Trower and

others involved in the investigation to efficiently and confidentially complete the investigation,

violated Dr. Kalyango’s rights, and such failures by the defendants evidence their clear bias and

prejudice against Dr. Kalyango.

       50.       Mr. Anaya’s investigation consisted almost exclusively of Ms. Herman’s subjective

statements, solely from her perspective. There was no corroboration of any of Ms. Herman’s

claims from independent, objective sources. More importantly, Dr. Kalyango was never provided

an opportunity to directly question Ms. Herman or to have her cross-examined by a representative

of Dr. Kalyango despite this request being made in 2018.

       51.       The protracted nature of the investigation and the flawed conclusions reached, in

conjunction with the improper recommendations made by the biased investigator who was

employed and paid by Ohio University, indicate the investigator was not qualified, objective, or

unbiased.

                               The Administrative De-Tenuring Process

       52.       The dean of the Scripps College of Communications, Scott Titsworth, sent a letter

on August 24, 2018 suspending Dr. Kalyango from teaching and reassigned him to do other work

in support of the school, college and University’s missions including preparations and

administration of external grant applications and other administrative activities, as assigned at the

discretion of the school director, Robert K. Stewart.

       53.       This letter was sent congruent with the strategically-timed and much-delayed

release of Mr. Anaya’s Memorandum of Findings. Dean Titsworth did nothing to ensure

confidentiality for the protection of Dr. Kalyango or anyone involved in the discriminatory

investigation.



                                                 14
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 15 of 60 PAGEID #: 15




       54.     Dean Titsworth’s professionally harmful action of suspending Dr. Kalyango was

grossly premature in the process as stipulated in the Ohio University Faculty Handbook.

       55.     Dean Titsworth’s socially and emotionally harmful action of suspending Dr.

Kalyango was grossly severe as Dr. Kalyango and his family were physically banned from campus

where his sons were enrolled in community activities and summer camps, in the college town of

Athens, Ohio, with prohibitively limited options for childrens’ recreational facilities outside of

Ohio University.

       56.     Dean Titsworth’s banishment of Dr. Kalyango from Ohio University in such

premeditated severe treatment crippled Dr. Kalyango and his young family, and negatively swayed

the appeal process. Dean Titsworth’s actions were based on Dr. Kalyango’s race and national

origin, and he was treated differently than American born, Caucasian professors who had been

accused of much worse conduct.

       57.     Dean Titsworth’s suspension of Dr. Kalyango caused mental and emotional

anguish for more than two years as the local Athens media headlines negatively focused on the

dean’s action in suspending Dr. Kalyango, tainted his reputation, which diminished a fair internal

review process, among other professionally damaging details.

       58.     Dr. Kalyango’s identity throughout the review process was not protected by Ohio

University, in violation of its own policies, and in spite of Dr. Kalyango’s complaints, as local

media splashed details of the allegations over and over again.

       59.     As a direct and proximate result of defendant’s actions, Dr. Kalyango’s reputation

has been destroyed, he has been deprived of significant benefits associated with his position at

Ohio University, and he has been suspended from his active teaching position.




                                                15
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 16 of 60 PAGEID #: 16




                               Retaliation Against Dr. Kalyango

       60.     As the only black faculty member of the journalism graduate committee in the

school of journalism at Ohio University from September 2011 to March 2018, Dr. Kalyango

complained to School Director Stewart in the spring of 2016 and again in the spring of 2017 that

the chair of the graduate admissions committee, Michael S. Sweeney, Professor, E.W. Scripps

School of Journalism, was favoring non-minority (American) U.S. students over minority

international students in the admission process, and not solely based on the criteria of Ohio

University’s requirements. This was prior to the initiation of the investigation and the charges

against Dr. Kalyango.

       61.     School Director Stewart was duly notified at least two years before the ECRC

investigations were ever launched that Professor Sweeney engaged in discriminatory practices in

the graduate program.

       62.     Since Dr. Kalyango was head of the IIJ and had earned equal status in rank as

Professor Sweeney as a full Professor in 2016, he started lobbying School Director Stewart to

intervene in the discriminatory admissions practices championed by Professor Sweeney that were

not favoring minority black, Hispanic or Muslim applicants from the Middle East, who sought

admission into the journalism school’s Masters and Doctoral programs.

       63.     As the associate director of graduate studies in the school, Professor Sweeney

turned down several fully-paying graduate prospective applicants from the Middle East, whom Dr.

Kalyango had personally recruited to apply into the graduate program; School Director Stewart

was duly notified in 2016 of this as well.




                                              16
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 17 of 60 PAGEID #: 17




        64.    School Director Stewart ignored Dr. Kalyango’s complaints and appeals about the

graduate admission discriminatory practice, but Stewart simply notified Professor Sweeney that

Dr. Kalyango was advocating a diverse and inclusive program in terms of specializations and race.

        65.     Dr. Kalyango noticed Professor Sweeney’s indifference and contemporaneously

shared his observations with three of his peers in the school in 2016 and 2017.

        66.    After Mr. Anaya’s release of the Memorandum of Findings in August 2018, School

Director Stewart denied Dr. Kalyango educational and professional benefits and equitable

treatment, stating that Dr. Kalyango did not have any further authority to represent Ohio University

at academic conferences and in his global engagements, in light of the allegations of sexual

harassment that were still pending procedural reviews. This was inconsistent and exhibited a

double-standard similar to the directives from Dean Titsworth’s illegal suspension memo.

        67.    The actions of Dean Titsworth and School Director Stewart in banishing and/or

enacting such severe disciplinary suspension sanctions against Dr. Kalyango, even before UPEC

reviewed the matter, and before Dr. Kalyango received an opportunity for a critical hearing and

cross-examination, were in violation of Ohio University policy and the Faculty Handbook. No

policy permitted Dean Titsworth, Director Stewart or Professor Sweeney to prematurely treat Dr.

Kalyango differently than his colleagues in the school of journalism before he was given an

opportunity for a hearing and cross-examination. Male Caucasian, American-born professors in

similar situations in other schools or departments across the University were treated differently

and fairly.

        68.    Ohio University initiated a flawed, discriminatory and retaliatory de-tenuring

process through UPEC, following the issuance of the August 2018 investigation report, even




                                                17
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 18 of 60 PAGEID #: 18




though the recommendations by the investigator along with the underlying claims of Ms. Herman

do not warrant nor suggest termination of Dr. Kalyango.

       69.     The de-tenuring process initiated by Ohio University has allowed for no cross-

examination of witnesses, no ability on the part of Dr. Kalyango to confront those accusing him,

and no mechanism for appropriate dissemination of evidence by advocates on Dr. Kalyango’s

behalf. This termination process is based on discriminatory and retaliatory motives without any

valid or legitimate basis, all of which violate Dr. Kalyango’s state and federal rights. However,

once Dr. Kalyango was provided due process before the Faculty Senate Committee as more fully

describe below, it was determined that the allegations presented against him without merit and that

he should be reinstated.

       70.     While Ms. Herman’s ECRC complaint was still pending, in February 2018, Dr.

Kalyango was implored by a Caucasian, female colleague to speak candidly regarding the

insubordination of a student from Dr. Kalyango’s M.A. program, Bailey Dick, who had worked

for SUSI in the summer of 2017. Ms. Dick had applied to Ohio University’s Doctoral program

with the School of Journalism, but was initially denied acceptance.

       71.     Ms. Herman filed a retaliation complaint against Dr. Kalyango on behalf of Ms.

Dick in February 2018, alleging that Ms. Dick was not admitted in the doctoral program because

she was a witness in Ms. Herman’s Title IX complaint. Although Mr. Anaya admitted that Ms.

Dick was not a witness in Ms. Herman’s complaint, he opened a full investigation on the basis of

retaliation against Dr. Kalyango. This investigation lasted well beyond the 90-day deadline for

resolution, and the report finally filed by Ms. Anaya seeped with discriminatory animus and

initially attempted to substantiate Ms. Dick’s allegations, although he was eventually forced to

find the allegations were unsubstantiated after a thorough review of the evidence or lack thereof.



                                                18
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 19 of 60 PAGEID #: 19




       72.    On or about March 20, 2019, Dr. Kalyango filed claims in the United States District

Court, Southern District of Ohio, against Ohio University. On or about April 29, 2019, Dr.

Kalyango amended his claims and named individual Ohio University employees as defendants,

including Mr. Anaya, Ms. Trower, Chaden Djalali Ph.D., former Executive Vice President and

Provost of Ohio University and others, asserting claims including violation of due process and

discrimination under Title IX, among others.

       73.    In retaliation for the claims asserted against him and Ohio University, and with a

discriminatory intent, Mr. Anaya launched a second UPEC investigation with the assistance of

Professor Sweeney, a Caucasian, American-born male, and advocate for Ms. Dick, a Caucasian,

American-born female. Professor Sweeney was infuriated that Dr. Kalyango and others voted

against the admission of Ms. Dick to the doctorate program. Additionally, Dr. Kalyango had

previously questioned Professor Sweeney, formerly chair of the graduate program, as to why the

School of Journalism did not admit more minority/black students in the doctoral program while

the school was admitting applicants with GRE scores below the University’s threshold. Professor

Sweeney ignored Dr. Kalyango’s inquiry, and Dr. Kalyango relayed this discriminatory animus to

Mr. Anaya during the ECRC investigation. Mr. Anaya took no action based on the information. In

addition, Professor Sweeney directed a smear campaign against Dr. Kalyango following the

journalism graduate admissions committee’s initial denial of Ms. Dick’s admittance to the

doctorate program. All of this information was available to Mr. Anaya and Ohio University, who

ignored and supported the retaliatory animus and racially bias conduct of Professor Sweeney and

Mr. Anaya.

       74.    While performing his investigation in the Herman case, Mr. Anaya gave permission

to Professor Sweeney to talk about the Herman case before a convened journalism graduate



                                               19
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 20 of 60 PAGEID #: 20




admissions committee – in the midst of his investigation of Ms. Herman’s allegations – which

tainted Dr. Kalyango’s standing among his peers even before Mr. Anaya concluded his biased

investigations. With Mr. Anaya’s prior knowledge and permission, Professor Sweeney proceeded

to publicly expose an investigation and gave his opinion before the journalism graduate committee

that he believed Ms. Herman’s allegations, and that Dr. Kalyango had engaged in sexual

misconduct. Dr. Kalyango’s peers were shocked at hearing such accusations in a public meeting.

       75.    Mr. Anaya and Professor Sweeney then revived a complaint against Dr. Kalyango

that had been fully investigated and dismissed in 2012. The basis of the complaint involved a

group of Ohio University graduate students on a study-abroad program, including Lindsay Boyle

who was Dr. Kalyango’s program assistant in the IIJ, Dr. Kalyango and other lecturers in Lusaka,

Zambia in 2011. After the group returned to the United States, an allegation was made of

potentially inappropriate conduct by another student in the program on the part of Dr. Kalyango

with regard to Ms. Boyle. Yet, the complaint was initially made against one of Dr. Kalyango’s

lecturers from the University of Zambia in Lusaka, in late 2011 - not against Dr. Kalyango. An

investigation was conducted pursuant to rules applicable at the time, including an interview with

Ms. Boyle, email exchanges between Ms. Boyle and the Title IX Office, and other personnel on

the Zambia trip. The investigation concluded and a Memorandum of Finding was issued in early

2012, which cleared Dr. Kalyango of any wrongdoing, as the allegations against Dr. Kalyango

were determined to be unfounded. Ms. Boyle continued to work with Dr. Kalyango for 18 months

until summer 2013 as his Program Assistant in the school’s IIJ institute. She went on to be

successful in her remaining undergraduate educational experience at Ohio University and

ultimately graduated and moved into her career. She even continued to be in contact with Dr.




                                               20
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 21 of 60 PAGEID #: 21




Kalyango, who occasionally helped her in late 2013 and early 2014 – as he did with all his

graduates and advisees – with her job searches and initial career navigation.

           76.   After Dr. Kalyango had asserted his claims against Ohio University and others, Mr.

Anaya retaliated against him by re-opening the Boyle/Zambia investigation from 2012.

           77.   Although Ohio University Policy regarding harassment in effect between March

27, 2006 and August 3, 2012 was the applicable provision of the handbook governing the conduct

of Dr. Kalyango during the Zambia trip, and said provision contained a 180 day time limit, Mr.

Anaya ignored the provision, and the time limit, as well as the undeniable fact that the investigation

had previously concluded with no finding of inappropriate conduct.

           78.   In an attempt to shore up the embarrassingly inept investigation he was still

conducting in the Herman matter, and in a continuation of their discriminatory animus against Dr.

Kalyango, Mr. Anaya and Professor Sweeney tracked down Ms. Boyle out of state, in Connecticut

where she lived and worked, and persuaded her to recant or recast her recollections of six years

earlier.

           79.   Through coordination with other faculty members, Mr. Anaya constructed a

narrative based upon Ms. Boyle’s newly formulated recollections from six years before and then

imposed 2019 standards upon the determination and concluded that Dr. Kalyango had violated the

sexual harassment policy of Ohio University during the 2011 Zambia trip. Mr. Anaya then used

this conclusion as support for his conclusion in the Herman matter.

           80.   In a step that can only be viewed reasonably as a blatant retaliatory strike, Mr.

Anaya then issued a Memorandum of Finding on May 30, 2019, almost exactly one month after

he was personally named as a defendant in Dr. Kalyango’s claims against Ohio University.




                                                 21
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 22 of 60 PAGEID #: 22




       81.     In terms of sheer temporal proximity, Mr. Anaya’s May 30, 2019, Memorandum of

Finding is a direct retaliatory response to Dr. Kalyango’s assertion of his claims against Mr. Anaya

and Ohio University.

       82.     As with the previous investigation, Mr. Anaya concluded, based on innuendo,

hearsay, and a discriminatory animus, that Dr. Kalyango’s conduct relative to the 2011 matter was

“severe enough to create an intimidating, hostile and offensive educational and work environment”

notwithstanding the fact that Ms. Boyle had long since successfully completed her education at

Ohio University, graduated and was working in her desired field of study. Meanwhile, between

2012 and 2017, Dr. Kalyango received the highest “Exceeds Expectations” score from his

colleagues, numerous accolades from domestic and foreign academic institutions, published two

additional books and approximately 30 peer-reviewed empirical research, and brought over $3

million in grants to the Scripps College of Communication and Ohio University. In the same time

period, he traveled without incident with more than fifty female colleagues and female graduate

and undergraduate students on grant-funded, international study abroad, and/or conference

programs.

       83.     All of the discriminatory and retaliatory conduct of Professor Sweeney and Mr.

Anaya was known, condoned, and authorized by Ohio University.

               Discriminatory Administrative Process Following Investigation

       84.     Without notifying Dr. Kalyango, then Provost Djalali initiated the UPEC review

committee for the Boyle matter, constructed entirely of white/Caucasian faculty members with no

diversity and no experience or responsibility for any study abroad student supervision. UPEC

received this charge on October 7, 2019, and ultimately issued a report on November 11, 2019,

rubber-stamping Mr. Anaya’s conclusions in the May 30, 2019 Memorandum of Finding, without



                                                22
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 23 of 60 PAGEID #: 23




one reference to the 23 page statement filed in response to the Memorandum of Finding by Dr.

Kalyango. Likewise, the UPEC committee never interviewed Dr. Kalyango or otherwise took

evidence from his perspective regarding the six-year-old previously closed investigation.

       85.     Dr. Kalyango specifically requested in writing that the UPEC ad hoc committee

consist of some members with diversity and teaching abroad background. This request was denied

as the former Provost did not even bother to respond.

       86.     In addition to the unlawful nature of the investigation substantively, the procedure

was against Ohio University’s policy. Based upon the issuance date of the Memorandum of

Finding, the UPEC should have been formed no later than August 7, 2019, according to the faculty

handbook applicable in 2019. As it happened, Provost Djalali did not form the UPEC until October

7, 2019, two months after the mandatory faculty handbook deadline. This inaction from Provost

Djalali and other decision-makers created more undue mental and emotional distress upon Dr.

Kalyango, in addition to the psychological trauma triggered over a two-year period because of the

protracted procedural flaws by Mr. Anaya, exacerbated by School Director Stewart.

       87.     The faculty handbook allowed for 45 days for the UPEC to conduct its review, write

its report and submit its recommendations to the Provost, which would have set the date for the

UPEC report at September 21, 2019. These guidelines are designed to minimize harm to the

accuser and the accused, yet as in the Herman matter, Ohio University and the administrative

defendants blatantly ignored the mandatory time-line for the investigation and review by UPEC.

Although the Ohio University faculty handbook specifically mandates that a UPEC will not

observe the academic calendar (student breaks, vacations, etc., cannot be an excuse for delay), the

UPEC nevertheless conducted itself in a manner completely untethered from any of the guidelines

or mandatory deadlines set forth in the faculty handbook.



                                                23
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 24 of 60 PAGEID #: 24




       88.     The faculty handbook mandates that the final report from UPEC “should include

sufficient detail of the review process to permit an assessment of the reasons for determining

recommendations”, yet there is not one mention of Dr. Kalyango’s 23 page statement to the

investigator, or any indication that the UPEC did anything other than consider Mr. Anaya’s biased

and discriminatory Memorandum of Findings without any independent consideration of any

evidence or any interview of Dr. Kalyango.

       89.     In this particular case, the UPEC report was not issued until November 11, 2019,

months after the deadlines imposed by the University’s own handbook in effect in 2019. Although

Dr. Kalyango expressed outrage that Ohio University was applying 2019 faculty handbook

standards, adopted well after the alleged incident which occurred in 2011, relative to the

investigation of the May 30, 2019, Memorandum of Findings, the process was further convoluted

by the fact that Ohio University then decided to abandon the structure of the faculty handbook

applicable in 2019 and proceed in a manner totally inconsistent with any rules or regulations

applicable at the time.

       90.     In a November 11, 2019 report by the UPEC, there is a recommendation that the

de-tenuring process proceed, which is the most severe sanction available. Dr. Kalyango has

appealed the decision.

       91.     The recommendation of the UPEC, ratified and adopted by Ohio University,

represents blatantly disparate treatment of Dr. Kalyango, the only black tenured full professor in

the E.W. Scripps College of Journalism.

       92.     Even within his department, School Director Stewart coordinated the suspension

with Dean Titsworth as they denied Dr. Kalyango employment benefits, access to programs, access




                                               24
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 25 of 60 PAGEID #: 25




to pertinent information within the school, and equitable treatment from August 2018 until Dean

Stewart retired on June 30, 2020.

          93.   School Director Stewart intentionally and willfully blocked or removed Dr.

Kalyango from the school’s mailing and email lists. Dr. Kalyango never received any school

announcements related to personnel affairs, faculty meeting minutes, academic issues,

professional development updates, or any other school-related developments. Stewart, as director,

made this arbitrary adverse action to deny Dr. Kalyango these professionally basic essential

benefits by all other faculty members and available to everyone else in the school. Meanwhile,

Caucasian, American-born professors in similar situations in other schools or departments across

the University were treated differently and fairly, such as Psychology, English, Chemistry, and

others.

          94.   During the course of the Faculty Handbook-required school review (Section

II.D.5a) of the de-tenuring recommendation, School Director Stewart misled Dr. Kalyango,

concealed pertinent information that was in Dr. Kalyango’s favor from the faculty that director

Stewart had read and had asked for on behalf of the faculty; then held secretive closed-door

individual meetings with only 11 out of 27 faculty members. Two of the 11 members who spoke

to him privately were probationary faculty and not part of the tenured faculty review (P&T)

committee.

          95.   According to School Director Stewart’s hand notes of these closed-door, private,

individual meetings, half of the journalism faculty members that he secretly talked to indicated

that they did not support de-tenuring Dr. Kalyango on the basis of such sexual harassment

allegations – excluding the probationary members. The notes also showed that some colleagues




                                               25
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 26 of 60 PAGEID #: 26




expressed disapproval of how Dr. Kalyango was treated unfairly by Ohio University’s process,

and by Professor Sweeney.

         96.    School Director Stewart limited participation by planning the Faculty Handbook-

required school review to occur the week of a University closure, on Mach 16 and 17, 2020, which

was an extended Ohio University Spring Break due to the Statewide emergency of the Coronavirus

pandemic.

         97.    In his written letter recommending that Dr. Kalyango be de-tenured, School

Director Stewart then misrepresented the closed-door private individual meetings and the

sentiments of the handful faculty with whom he met.

         98.    School Director Stewart discriminated and retaliated against Dr. Kalyango,

negating customary procedural de-tenuring norms with the failure to allow the P&T committee

deliberation and a P&T vote, which is contrary to other Ohio University departments and P&T

committees that have reviewed similar situations of sexual misconduct in loss-of-tenure cases.

         99.    In March 2020, during Ohio University’s extended Spring Break, School Director

Stewart never provided the journalism faculty members (Dr. Kalyango’s peers) the opportunity to

review the file folder with Dr. Kalyango’s UPEC statements, Dr. Kalyango’s written statement to

the school director, and grievance statements made to the Provost and appeal statements to the

President, which Stewart had requested from Dr. Kalyango and had promised to share with his

peers.

         100.   Instead, School director Stewart intentionally and willfully went back to the same

investigator, Mr. Anaya of the Title IX Office, who then only provided Dr. Kalyango’s peers a

partial folder of the investigation materials initially compiled by Mr. Anaya.




                                                26
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 27 of 60 PAGEID #: 27




        101.   In violation of the Faculty Handbook regarding the School Director’s

responsibilities on this matter, Director Stewart negated the forthcoming “Personal Conference

Meeting’ with Dr. Kalyango, after he organized a secret individually-scheduled closed-door

meeting to solicit private passive views on the loss of tenure recommendations. The school faculty

members’ understanding of the matter was one-sided and subjectively prejudicial because of

Stewart’s discriminatory and retaliatory actions.

        102.   When Dr. Kalyango reported to Dean Titsworth in a pre-meeting memo about

Director Stewart’s enforced procedural flaws and prejudice, and thereafter filed a formal complaint

to Ohio University’s ECRC against Director Stewart, then Dean Titsworth intentionally and

willfully changed and abandoned his scheduling offer to meet with Dr. Kalyango as stipulated in

the Faculty Handbook Section II.D.5.a, which states that “The dean normally will then consult

jointly with the faculty member and chair:…”

        103.   Consequently, Dean Titsworth’s actions and rationales were pretextual, issuing a

severely damning retaliatory letter to Provost Sayrs recommending loss of tenure, after he was

notified of School Director Stewart’s procedural flaws and prejudicial actions, which in fact

resulted in an investigation of Director Stewart for discrimination and retaliation on the basis of

race and national origin, in violation of University Policy 40.001, launched by Ohio University’s

Title IX Office.

        104.   As a decision-maker, Dean Titsworth not only decided to recommend de-tenuring

as a retaliatory action, but he also invoked a financially harmful provision – Faculty Handbook

section II.D.5.g – that Dr. Kalyango be stripped of any monetary compensations otherwise entitled

to.   This was an intentional abuse of power beyond the Dean’s jurisdiction, which caused an

irreparable harm to Dr. Kalyango.



                                                27
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 28 of 60 PAGEID #: 28




       105.    The disparate treatment by the University administrators is evident in the fact that

a white U.S. national origin non-tenured professor, accused of much more egregious and grave

conduct to which he admitted, was recommended only for a written reprimand and additional EEO

training, as opposed to dismissal, following a review by the UPEC of a Memorandum of Findings

relating to his alleged conduct. In fact, there are specific instances of at least three American-

born, Caucasian Professors or educators at Ohio University that were accused of, found liable for,

and/or charged criminally for conduct far egregious than that accused of Dr. Kalyango, for which

Ohio University only sanctioned with training and/or a limited suspension. Further, there are at

least two minority former Ohio University professors that have been de-tenured, terminated, or

otherwise forced out of their employment with Ohio University for conduct similar to or less

egregious to the conduct of their American-born, Caucasian peers that are still employed with Ohio

University. The policy of Ohio University has been to accept uncorroborated statements of

females to the detriment of non-Caucasian, non-native male, either students or professors,

regardless of the truth or falsity of those statements.

       106.    Ohio University President, M. Duane Nellis, was dully notified in writing on

December 26, 2018, and again on January 6, 2019, of the challenges of investigating and reviewing

these allegations of sexual harassment against Dr. Kalyango, which purportedly happened abroad

in Africa, because of the lack of extraterritorial application and the practical difficulties posed by

such investigations. Mr. Anaya’s findings of fact, that were incomplete, grossly biased, and

racially discriminatory suppositions, which he rendered in his Memorandum of Findings, provided

substantive evidence to the President and other senior administrators of such challenges.

       107.    President Nellis was also duly informed on January 6, 2019 – before he accepted

former Provost Djalali’s de-tenuring recommendation – that given the strong claim of racial bias



                                                  28
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 29 of 60 PAGEID #: 29




and cross-cultural misunderstanding Dr. Kalyango had raised, Provost Djalali intentionally and

willfully organized an all-white/Caucasian UPEC, which did not include any members who had

experience in Africa programming, did not include any international members, and did not include

any members who had administered any study abroad project.

       108.    On December 26, 2018, President Nellis was notified that the de-tenuring process

would be invalid, depriving Dr. Kalyango of his due process rights, unless Dr. Kalyango was given

the opportunity to cross-examine his accuser and her key witnesses, and a record of testimony was

made. The suspension and the precursor de-tenuring proceedings fronted by the University

undermined due process rights to a fair cross-examination full hearing.

       109.    At all times, as President Nellis knew from Dr. Kalyango’s written appeals, the

issuance of a written determination regarding responsibility (de-tenuring) should be undertaken

following the hearings (cross-examination), which, in Dr. Kalyango’s case, he requested in all his

statements to Mr. Anaya, to Provost Djalali, and to the non-diverse (all-white) UPEC during the

Herman and Boyle proceedings.

       110.    In September 2018, Mr. Anaya’s other Memorandum of Findings about a white

male Ohio University professor charged with much more severe conduct was circulated in the local

Athens media at the same time as Dr. Kalyango’s Memorandum of Findings were leaked to the

media. The ECRC and the university carefully protected the identity of this accused white male

professor and therefore because of this protection from reputational damage, his identity and

photos were effectively concealed from exposure even when the accused white professor’s story

appeared in the local Athens News media on September 12, 2018.

       111.    Because Dr. Kalyango received no similar identity protections as his white-male

counterpart from Mr. Anaya, the sexual harassment story about him in several local Athens media



                                               29
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 30 of 60 PAGEID #: 30




mercilessly exposed Dr. Kalyango, repeatedly circulating a large photo of him and other

unfounded details onto the internet, and the headlines focused on Dean Titsworth’s suspension of

Dr. Kalyango and erroneous claims of financial mismanagement, which the University corrected

in the media despite Dr. Kalyango’s complaints, among other professionally damaging details.

       112.    These damaging and discriminatory false statements were circulated before the

UPEC was formed to review and make recommendations on the substance of Ms. Herman’s

allegations against Dr. Kalyango.

       113.    Although both School Director Stewart and Mr. Anaya had prior knowledge of

Professor Sweeney’s (U.S.-born, Caucasian male) retaliation against Dr. Kalyango and his

discriminatory actions against minority prospective students, they did not take any remedial

actions to protect Dr. Kalyango against Professor Sweeney’s smear campaigns.

       114.    On October 8, 2018, Dr. Kalyango filed a formal complaint to the ECRC, charged

with investigating such matters, and requested ECRC’s investigation of Professional Sweeney in

the matter of violating Ohio University Policies by engaging in public comments/negative smear

campaign as reported in the Athens News on October 5, 2018, and other media.

       115.    School Director Stewart and Provost Djalali were also contemporaneously notified

of this blatant, discriminatory, and retaliatory smear campaign.

       116.    The ECRC, under then interim director Kerri Griffin, School Director Stewart, and

Provost Djalali, refused to intervene and stop the damage, never acknowledged nor recognized Dr.

Kalyango’s appeal, and therefore protected Professor Sweeney, allowing him to continue his

harmful retaliation.

       117.    Such public comments from Professor Sweeney, who was described in the media

as a graduate studies administrator, prejudiced due process rights and compromised the integrity



                                                30
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 31 of 60 PAGEID #: 31




of the investigation in a matter that was under investigation by Mr. Anaya. This particularly

tarnished Dr. Kalyango’s reputation before his peers and impacted the review process that was

currently being conducted by the non-diverse, non-inclusive UPEC.

       118.    Ohio University routinely provides legal representation for its employees who are

sued in their capacities as employees.

       119.    When Ms. Herman brought suit in federal court against Ohio University based upon

Mr. Anaya’s flawed, biased, and discriminatory Memorandum of Findings, the university provided

legal representation to the white, male defendants named in her lawsuit.

       120.    Ohio University, with discriminatory and retaliatory intent, based upon his race,

national origin, and gender, refused to provided legal representation to Dr. Kalyango in the same

lawsuit.

       121.    While Dr. Kalyango was awaiting his opportunity to be heard and to be presumably

treated fairly, Ohio University continued its discriminatory and retaliatory efforts to unlawfully

and unfairly terminate Dr. Kalyango in the following manner:

       a. Ohio University's Title IX Office launched an inquiry on April 15, 2020, into a
complaint against retired OU administrator, school director Robert K. Stewart of violating Title
IX's University Policy for retaliating and discriminating Dr. Kalyango on the basis of race and
national origin, University Provost, Elizabeth Sayrs, willingly and intentionally undermined the
university's internal investigation, which is under her office's jurisdiction and proceeded with the
de-tenuring sanction on June 8, 2020 against Dr. Kalyango.

         b. Ohio University's Title IX Office launched an inquiry on May 7, 2020, into a
complaint against OU administrator, Dean of the college, Brian Scott Titsworth of violating Title
IX's University Policy for retaliating and discriminating Dr. Kalyango on the basis of race and
national origin, University Provost, Elizabeth Sayrs, willingly and intentionally undermined the
university's internal investigation, which is under her office's jurisdiction and proceeded with the
detenuring sanction on June 8, 2020 against Dr. Kalyango.

        c. University Provost, Elizabeth Sayrs violated University policy, Faculty Handbook
Section II.D.5.a, which states that the Provost must undertake “to investigate and arbitrate the
difficulty” in a de-tenuring matter, as the ongoing University’s Title IX investigations of OU
administrators retired school director Robert K. Stewart and the dean of the college, Brian Scott

                                                31
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 32 of 60 PAGEID #: 32




Titsworth, falls squarely within this scope of her duty and jurisdiction; yet those ongoing
investigations have been putatively renounced by her June 8, 2020 de-tenuring sanction.

        d. Ohio University's Title IX Office launched a full investigation on June 22, 2020, against
retired OU administrator, school director Robert K. Stewart of violating Title IX's University
Policy for retaliating and discriminating Dr. Kalyango on the basis of race and national origin,
University President, M. Duane Nellis, willingly and intentionally undermined the university's
internal investigation and proceeded with the de-tenuring and dismissal sanction on September 3,
2020 against Dr. Kalyango.

         e. Ohio University's Title IX Office launched a full investigation on June 22,
2020, against OU administrator, Dean of the college, Brian Scott Titsworth of violating Title IX's
University Policy for retaliating and discriminating Dr. Kalyango on the basis of race and national
origin, University President, M. Duane Nellis, willingly and intentionally undermined the
university's internal investigation and proceeded with the de-tenuring and dismissal sanction on
September 3, 2020 against Dr. Kalyango.

                    Faculty Senate Hearing Committee Votes to Reinstate

       122.    Even though the preceding information and allegations demonstrate discrimination

and retaliation contrary to law, the actions of Ohio University through its Board of Trustees in

March—April 2021 fully demonstrate the discriminatory animus of the Defendants.

       123.    Pursuant to the Faculty Handbook regarding the de-tenuring process, a tenured

professor is entitled to a full hearing before a Faculty Senate Committee consisting of other

professors within the College. This hearing is evidence based, including submission of exhibits

along with testimony of witnesses and arguments of counsel. The Faculty Senate Committee

functions as the jury for the University and serves as the final due process procedure to protect not

only the charged tenured professor, but the University and students.

       124.    A Faculty Senate Committee hearing occurred on December 9, 2020, and

December 10, 2020. Ohio University, represented by legal counsel, presented three witnesses,

including the two complainant students and the investigator. Dr. Kalyango testified and presented

14 witnesses from all over the world, including former students, professors, and other professionals

knowledgeable about Dr. Kalyango, his programs and the underlying allegations.

                                                 32
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 33 of 60 PAGEID #: 33




       125.    The Faculty Senate Committee heard two days of live testimony, studied thousands

of exhibits and found overwhelmingly (5-1) that the charges were not proven and Dr. Kalyango

should be reinstated immediately. Copies of the two Faculty Senate Hearing Committee Findings,

dated December 29, 2020, and April 2, 2021, are attached as Exhibit A and B.

       126.    The Board of Trustees reacted to public pressure and inaccurate media coverage of

the entire event that had been ongoing since 2017 and objected to the findings of the Faculty Senate

Committee, requesting that the Committee reconsider certain issues, mainly as to the quantum of

proof necessary for Ohio University to de-tenure Dr. Kalyango. The Faculty Senate Committee

used the “clear and convincing” quantum of proof as mandated by the Faculty Handbook, and as

stipulated to by legal counsel for Ohio University. In an unprecedented, discriminatory, and

retaliatory decision, the Board of Trustees lowered the standard of proof to “preponderance of the

evidence” so that it could disregard the Faculty Senate Committee deliberative process and

findings both after the hearing and in response to the Board of Trustee’s initial objections. No

Board of Trustees had ever sought to change the manner of proof in such a fashion.

       127.    The Board of Trustees also relied upon alleged occurrences that occurred outside

of University property, outside the control of the University, and outside of the United States, all

contrary to the requirements of Title IX, which specifically limits the application of law to events

within the United States. Again, the Board of Trustee’s decision process to disregard the applicable

law and it own contractual mandates regarding the serious process of de-tenuring a professor

establishes the retaliatory and discriminatory animus that proliferated the Board of Trustee’s sham

decision process.

       128.    The Board of Trustees also imposed a further sanction by denying Dr. Kalyango a

severance salary that is contractually mandatory for any professor who loses tenure.            The



                                                33
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 34 of 60 PAGEID #: 34




combination of the Board’s actions can only be based on a discriminatory and retaliatory animus,

since the facts, law and proof were overwhelmingly if favor of Dr. Kalyango, as found by the

Faculty Senate Committee.

       129.    Ohio University and its Board of Trustees revoked Dr. Kalyango’s tenure and

terminated his employment on April 9, 2021, while at the same time/period the Board of Trustees

was fully aware and duly notified that the University’s Title IX Office was still investigating two

of its administrators (University investigations), the Dean of the Scripps College of

Communication, Brian Scott Titsworth, and the former director of the journalism school, Robert

K. Stewart, for the discriminatory and retaliatory complaints/actions directly related to the

School’s flawed proceedings, in which those administrators recommended that Dr. Kalyango be

de-tenured without providing due process for tenured professors.

       123.    Ohio University’s former President, Duane Nellis, announced on June 10, 2021,

that all university employees who lost income because of the nine months of mandatory furloughs

will be refunded all the money they lost. University administrators imposed the mandatory

furloughs on all of professors, including Dr. Kalyango, at the start of the fiscal year 2020/2021, to

help address chronic budget deficits that were expected. Dr. Kalyango lost income based on the

mandatory furloughs. All employees were refunded their lost wages at the end of June 2021. Dr.

Kalyango, who had yet to be provided due process, was denied the lost funds, further establishing

the bias and discriminatory animus within Ohio University.

       124.    In a severely harmful, lopsided public statement, Ohio University permanently

published on its website a smear campaign concerning the publicly-broadcast termination,

revealing its bias against non-Caucasian, non-native male professors, regardless of the truth or




                                                 34
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 35 of 60 PAGEID #: 35




falsity of those statements. That public announcement has been on the University’s website since

April 9, 2021, and continues to harm Dr. Kalyanogo’s profession and family.

          125.   Based on the discriminatory and retaliatory actions of Ohio University, through its

agents and its Board of Trustees, Dr. Kalyango has lost his job, his vocation, his reputation and his

ability to function in public education.

                                             Count One
                          (Discrimination and Denial of Equal Protection
                           Based on Race, National Origin and Gender)
                              Title VII of the Civil Rights Act of 1964

          123.   Plaintiff incorporates by reference Paragraphs 1 through 122 , as if fully rewritten

herein.

          124.   Dr. Kalyango is black, African, African American of East Africa descent, male and

a member of a protected class.

          125.   Dr. Kalyango was similarly situated in all relevant respects to American-born and

Caucasian employees treated more favorably, and thus Dr. Kalyango was denied equal protection

under the Fourteenth Amendment to the United States Constitution.

          126.   Ohio University is the unusual employer who discriminates against men.

          127.   Dr. Kalyango was similarly situated in all relevant respects to female employees

treated more favorably.

          128.   Dr. Kalyango has a distinguished career at Ohio University in all its professional

measures in teaching, research, service and creative activities, and was fully qualified for his

position at all relevant times.

          129.   As part of defendant’s discrimination based on race, national origin and sex, Ohio

University caused Dr. Kalyango to be unjustifiably placed on administrative leave.




                                                  35
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 36 of 60 PAGEID #: 36




       130.    Dr. Kalyango’s race, national origin and gender were factors that made a difference

in defendant’s decision to subject Dr. Kalyango to the wrongful charges of discipline and violation

of policy procedures claims and administrative leave.

       131.    Ohio University, by and through its agents, representatives, and employees, was

predisposed to discriminate on the basis of race, national origin, and gender and acted in

accordance with that predisposition as stated in the background facts. This predisposition is

evident from other investigations of professors in protected status who were subjected to similar

bias and unfair treatment because of their race or national origin; like Dr. Kalyango, these

professors were also retaliated against and were subjected to public access to confidential

information, all of which was released directly by Ohio University or through Ohio University’s

acquiesce, when at all times Ohio University knew such disclosure would be damaging to Dr.

Kalyango. Said discriminatory disclosures occurred almost a year before the investigation was

completed and at a time when the University and its investigator were required to remain neutral

and objective. This predisposition is also evident from Ohio University’s treatment of Caucasian

male professors and employees that have received more favorable treatment for alleged conduct

that was much more severe.

       132.    Defendant discriminated against Dr. Kalyango on the basis of race, national origin

and sex with respect to the terms, conditions, and privileges of Dr. Kalyango’s employment,

including, but not limited to, subjecting him to unfounded investigations, failing to follow its own

policies, breaching confidentiality, and proceeding with a de-tenuring process, all in violation of

42 U.S.C. 2000e, et seq.

       133.    Defendant’s stated reasons for the adverse employment actions taken against Dr.

Kalyango are pretextual.



                                                36
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 37 of 60 PAGEID #: 37




          134.   Defendant’s actions were intentional, willful, wanton, malicious, in conscious

disregard and with reckless indifference to for Dr. Kalyango’ rights and sensibilities.

          135.   If Dr. Kalyango had been Caucasian, American-born and/or female, he would not

have been treated in the manner described.

          136.   As a direct result of defendant’s unlawful discriminatory conduct as set forth above,

Dr. Kalyango has been, is being, and will continue to be deprived of income and other benefits

and opportunities due to him as a tenured professor, but denied because of his race, national origin

and gender, in an amount to be proven at trial.

          137.   As a direct result of defendant’s unlawful discriminatory conduct as set forth above,

Dr. Kalyango is entitled to compensation for all economic loss, past and future lost wages, past

and future benefits, non-economic compensatory damages, and reasonable attorneys’ fees and

costs.

          138.   As a further result of defendant’s actions, Dr. Kalyango has suffered consequential

damages including but not limited to mental anguish, physical and emotional distress, humiliation

and embarrassment, loss of earning capacity, and loss of professional reputation.

                                               Count Two

                         (Denial of Equal Contract Rights, 42 USC 1981)

          139.   Plaintiff incorporates by reference Paragraphs 1 through 138, as if fully rewritten

herein.

          140.   Defendant Ohio University has denied and continues to deny Dr. Kalyango his

contractual, procedural and statutory rights to maintain an employment relationship with the

defendant free from discrimination on the basis of his race and to be free from retaliation for

engaging in protected activity.



                                                  37
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 38 of 60 PAGEID #: 38




          141.   Defendant Ohio University has purposefully deprived Dr. Kalyango of equal

contract and procedural rights, along with job opportunities and job protections required by Dr.

Kalyango’s status as a tenured full professor on the basis of his race, and in retaliation for engaging

in protected activity.

          142.   The acts of Ohio University through its multiple agents have been and continue to

be intentional, retaliatory and in wanton and reckless disregard of the rights of Dr. Kalyango.

          143.   The Board of Trustees and Ohio University breached their contractual obligations

by failing to follow their own mandates regarding time to respond, and the length of the flawed

investigation. The Board of Trustees choose to ignore the detailed findings of the Faculty Senate

Committee and breached its own contractual obligations by altering the quantum of proof

necessary to de-tenure a professor, despite stipulating to the quantum of proof necessary at the

beginning of and throughout the two-day hearing.

          144.   As a direct and proximate result of the acts and conduct of Ohio University through

its agents, including all levels of management, and the Board of Trustees, Dr. Kalyango has

suffered and will continue to suffer extreme emotional distress, humiliation, anxiety, depression

and loss of esteem and reputation as well as the loss of income, benefits, and productive ability in

comparison to that which he could have performed except for the retaliation and discrimination by

Ohio University on account or race and engaging in protected activity.

                                           Count Three
                                      (Unlawful Retaliation)
                             Title VII of the Civil Rights Act of 1964

          144.   Plaintiff incorporates by reference Paragraphs 1 through 143, as if fully rewritten

herein.




                                                  38
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 39 of 60 PAGEID #: 39




          145.   Defendant retaliated against Dr. Kalyango with respect to the terms, conditions, and

privileges of his employment including but not limited to, treating him differently than similarly

situated, American-born, Caucasion employees with regard to his terms and conditions of

employment because of his race, subjecting him to unfounded investigations, failing to follow its

own policies, breaching confidentiality, and proceeding with a de-tenuring process, all in violation

of 42 U.S.C. 2000e, et seq.

          146.   As a result of defendant’s conduct as set forth above, Dr. Kalyango is entitled to

compensation for all economic loss, past and future lost wages, past and future benefits, non-

economic compensatory damages, and reasonable attorneys’ fees and costs.

                                          Count Four
                                   (Unlawful Discrimination)
                            Ohio Revised Code §§ 4112.02 and 4112.99

          147.   Plaintiff incorporates by reference Paragraphs 1 through 146, as if fully rewritten

herein.

          148.   Defendant’s discriminatory treatment of Dr. Kalyango because of his race, national

origin and gender violates Ohio Revised Code §§ 4112.02 and 4112.99.

          149.   As a result of defendant’s conduct as set forth above, Dr. Kalyango is entitled to

compensation for all economic loss, past and future lost wages, past and future benefits, non-

economic compensatory damages, physical and emotional distress, and reasonable attorneys’ fees

and costs.

                                          Count Five+
                                     (Unlawful Retaliation)
                            Ohio Revised Code §§ 4112.02 and 4112.99

          150.   Plaintiff incorporates by reference Paragraphs 1 through 149, as if fully rewritten

herein.



                                                  39
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 40 of 60 PAGEID #: 40




       151.    Defendant retaliated against Dr. Kalyango with respect to the terms, conditions, and

privileges of his employment including but not limited to, subjecting him to unfounded

investigations, failing to follow its own policies, breaching confidentiality, and proceeding with a

de-tenuring process, all in violation of Ohio Revised Code §4112.02 , et seq.

       152.    As a result of defendant’s conduct as set forth above, Dr. Kalyango is entitled to

compensation for all economic loss, past and future lost wages, past and future benefits, non-

economic compensatory damages, physical and emotional distress damages, and reasonable

attorneys’ fees and costs.

                                    County Six
        (Breach of Employment Contract/Detrimental Reliance/Misrepresentation)

       135.    Dr. Kalyango incorporates herein as if fully rewritten paragraphs 1-134.

       136.    As a tenured professor Dr. Kalyango had contractual protections established by the

Faculty Handbook and the implied protections followed by Ohio University historically and for

other professors, especially those professors who were not employees of color.

       137.    Pursuant to these contractual protections, Dr. Kalyango was entitled to rely upon

Ohio University policy and procedures set forth in the Faculty Handbook as well as Ohio

University’s obligation of good faith and fair dealing regarding his employment.

       138.    In reliance on these clear responsibilities, Dr. Kalyango worked his way to full

professorship in record time, and was offered tenure, with the implied promise that his position as

the University was secure and that despite his protected status, he would be accorded fair treatment

and good faith in all his encounters with the University. In exchange for this reliance, Dr. Kalyango

worked tirelessly, authoring books and authoritative articles, while traveling the world as an

ambassador for Ohio University, establishing good will and obtaining grants for the University in

millions of dollars. Ohio University was the direct beneficiary of these efforts.

                                                 40
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 41 of 60 PAGEID #: 41




          139.   Once the false allegations were presented against Dr. Kalyango, Ohio University

engaged in a series of contract breaches, including the complete and utter failure to follow the

same policies and procedures imposed upon Dr. Kalyango, while Dr. Kalyango, relying upon the

misrepresentations of the University, continued to cooperate in the flawed investigation, and

process, following all of the procedure and policy without fail, only to have the University breach

the policy repeatedly in order to terminate him without cause. The misrepresentations of the

University as set forth in the Faculty Handbook were reasonably relied upon by Dr. Kalyango, all

to his detriment.

          140.   The University created a policy where the last stage of the process of termination

was the only chance for due process, which included an evidentiary hearing so that for the first

time, real evidence could be presented and challenged. Dr. Kalyango followed the process,

participated in the hearing, presented witnesses from all over the world to speak the truth about his

history and demonstrated the baseless nature of the complaints against him. Dr. Kalyango

overwhelmingly prevailed in that process, as the Senate Committee overwhelmingly found there

was inadequate evidence to support the claims, and Dr. Kalyango was damaged and harmed by

the flawed process, including a protracted investigation spanning more than two years, and the

University’s misrepresentation about the fairness of the process Dr. Kalyango was forced to

follow.

          141.   As a direct and proximate result of Ohio University’s breach of contract, upon

which Dr. Kalyango detrimentally relied, he has been terminated, losing his vocation, reputation

and all of his scholarship devoted to Ohio University.




                                                 41
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 42 of 60 PAGEID #: 42




       142.    As a direct and proximate result of Ohio University’s breach of contract and

misrepresentation, Dr. Kalyango has suffered monetary damages including economic loss, loss of

tenured employment remuneration, emotional damages and permanent damage to his reputation.

                                          Count Seven
                     (Breach of Contract/ Good Faith and Fair Dealing)

       143.    Dr. Kalyango incorporates herein as if fully rewritten paragraphs 1-142.

       144.    Every contractual agreement has an implied duty of good faith and fair dealing.

       145.    The contractual agreement between Dr. Kalyango and Ohio University had the duty

of good faith and fair dealing. This implied agreement was breached by Ohio University in

countless ways, including but not limited to:

               a. Refusing to conduct a prompt investigation

               b. Refusing to retain or assign a trained university-experienced investigator

               c. Refusing to protect confidentiality

               d. Failing to follow the procedures mandated by its Faculty Handbook all to the

               detriment of Dr. Kalyango

               e. Allowing Professor Sweeney to become involved in the investigation and

               prosecution of Dr. Kalyango

               f. Allowing Director Stewart to change procedure to ensure the college would

               present a recommendation of detenuring to the Provost

               g. Ignoring Dr. Kalyango’s requests for diversity in all review committees

               h. Prematurely placing Dr. Kalyango on administrative leave after he continued to

               teach for more than a year after the false complaint was made

               i. Allowing the investigator to reopen a closed investigation after the investigator

               was named a defendant in a lawsuit

                                                42
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 43 of 60 PAGEID #: 43




               j. Board of Trustees refusing and overruling the conclusion that the investigation

               and underlying claims were unsubstantiated; and reversing the decision of the

               Senate Hearing Committee after this Committee properly and lawfully concluded

               Dr. Kalyango should be vindicated and reinstated to his teaching duties.

               k. Board of Trustees conspiring to harm Dr. Kalyango under the guise of prohibiting

               discrimination.

       146.    As a direct and proximate result of Ohio University’s breach of good faith and fair

dealing Dr. Kalyango has suffered monetary damages including economic loss, emotional

damages loss of tenured employment remuneration, and permanent damage to his reputation.

                                        Count Eight
                          (Breach of Contract and Policy/Conspiracy

       147.    Plaintiff Kalyango incorporates herein as if fully rewritten Paragraphs 1 through

146.

       148.    At all times, defendant Ohio University insisted that plaintiff Kalyango follow all

the policies and procedures regulating the investigation and the potential loss of tenure process.

       149.    At all times material, plaintiff Kalyango followed those requirements, including

meeting all deadlines and timelines while Ohio University regularly and routinely failed to follow

its own policies and procedures.

       150.    After it was discovered that school director Robert Stewart breached the school and

college policy with respect to investigating and obtaining votes from a Promotion & Tenure

Committee from professors within the school regarding the loss of tenure issue, Ohio University

took no action. The University ratified the unlawful conduct, which even the Dean of the college

admitted in the Senate Hearing Committee to be improper. Director Stewart chose only those

professors he believed would support his position which was prejudicial to plaintiff Kalyango.

                                                43
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 44 of 60 PAGEID #: 44




       151.    In those individually scheduled secretive meetings, only six professors indicated a

vote for loss of tenure to Director Stewart, but nonetheless, he accepted that recommendation in

clear violation of policy. Ohio University relied on this false premise and took no action to remedy

the breach, which ultimately resulted in Dr. Kalyango’s termination even though the only group

to provide him due process– the Senate Hearing Committee found the claims were unsubstantiated.

       152.    The University also knew that at least one professor, Professor Sweeney, was

conspiring to harm Dr. Kalyango by threatening and retaliating against other professors who did

not support the suggestion that plaintiff Kalyango should lose his tenure at the University.

       153.     Professor Sweeney asserted pressure on other professors to undermine and harm

plaintiff Kalyango throughout the process and throughout the investigation process, and further

conspired with the involved alleged complaining witnesses to encourage them to falsify and create

improper information, all which was utilized against plaintiff Kalyango.

       154.    These facts and many others as alleged herein were known to Ohio University, and

no action was taken. These undisputed facts were proven at the Senate Committee hearing, and in

part relied upon by the Senate Hearing Committee to prove the unfairness of the process leveled

against Dr. Kalynago. These same undisputed facts were captured within a transcript allegedly

reviewed by the Board of Trustees, who then ratified the improper and contractually prohibited

conduct, all in an effort to harm Dr. Kalyango. The only explanation for the conduct of the Board

of Trustees in ignoring violation after violation of policy by the University is an underlying

conspiracy to make an example of Dr. Kalyango based on motives the Board of Trustees are

unwilling to publicly acknowledge.




                                                44
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 45 of 60 PAGEID #: 45




       155.    Ohio University’s decision to take no action knowing that a conspiracy existed and

that professors were engaging in a breach of policy and unlawful conduct is a tacit admission that

the process was flawed because no action was taken.

       156.    The Board of Trustees improperly conspired individually and collectively to

condone and ratify the University’s utter failure to follow its own policy in order to make an

example of Dr. Kalyango and end his career to serve University political ends.

       157.    Dr. Kalyango asserts that the Board of Trustees conspired to overturn the decision

of the Senate Hearing Committee because the Board wanted to make a public statement against

sexual harassment, knowing the University had tolerated and condoned far worse conduct by other

professors.

       158.    As a direct and proximate result of Ohio University’s failure to follow its own

policies, including the Board of Trustees, and ratifying the conduct of its professors to engage in

unlawful and discriminatory conduct, as well as the ongoing conspiracy by the Board of Trustees

and others at the University, Dr. Kalyango has sustained damages including loss of income, loss

of reputation, emotional injury, loss of tenured employment remuneration, and loss of his business

profession.

                                         Count Nine
                               Breach of Administrative Policies

       159.    Plaintiff Kalyango incorporates herein as if fully rewritten Paragraphs 1 through

158.

       160.    Pursuant to the Ohio University Faculty Handbook regarding tenure and loss of

tenure, plaintiff Kalyango was entitled to a hearing before a Faculty Senate Hearing Committee

which consisted of third-term Senators who are university professors, and who were selected by

the Faculty Senate.

                                                45
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 46 of 60 PAGEID #: 46




       161.    These professors had no affiliation in the investigation and had no direct contact

with Dr. Kalyango throughout the protracted investigation.

       162.    Based upon the policy and procedure, a hearing was conducted on December 10th

and December 11th, 2020 in which the Senate Hearing Committee functioned in the capacity of a

jury to listen to evidence presented by both Ohio University in prosecuting Dr. Kalyango seeking

de-tenuring, and the defense offered by Dr. Kalyango.

       163.    Before the hearing - which was the first time Dr. Kalyango had been provided due

process which he had been requesting since 2017 – Dr. Kalyango asked for an extended hearing

given the number of witnesses that he felt were necessary to provide a defense. This request was

rejected.

       164.    Ohio University designated all aspects of the hearing including the time allotted for

the defense, the manner and time limitations for both the direct examination and cross-examination

of witnesses, and the specific burden of proof. All these policies and procedures were based upon

directives mandated by Ohio University, and all these policies and procedures were accepted by

Ohio University’s counsel, and all Ohio University representatives, without objection.

       165.    Following the two-day hearing, the Senate Hearing Committee ruled

overwhelmingly that Ohio University failed to meet its burden of proof, that the allegations against

Dr. Kalyango were unsubstantiated, and that there was systemic racism within the University, both

historically and with respect to Dr. Kalyango.

       166.    The Senate Hearing Committee, which provided due process to plaintiff Kalyango

for the first time, ruled that the de-tenuring process should end and that plaintiff Kalyango should

be reinstated to his position as a full tenured professor.




                                                  46
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 47 of 60 PAGEID #: 47




       167.    The decision by the Senate Hearing Committee was then reviewed by the Board of

Trustees who allegedly were interested in an objective analysis of the hard work and effort put

forth by the Faculty Senate.

       168.    Instead of accepting the decision by the fact finders, the Board of Trustees issued

objections, but the objections mainly challenged the same procedure and policy dictated by Ohio

University.

       169.    In other words, the Board of Trustees objected to the burden of proof, and other

issues regarding the presentation of evidence, all of which were mandated by Ohio University and

accepted by Ohio University’s counsel throughout the entire proceeding.

       170.    It is particularly insidious that the Board of Trustees objected to policy and

procedure that Ohio University authorized only because the outcome was inconsistent with the

preset conspiratorial determination to make an example of Dr. Kalyango and terminate him

regardless of the evidence.     This is particularly problematic because throughout the entire

investigation process which lasted more than two years, Dr. Kalyango continually complained

about Ohio University’s failure to follow its own policies.

       171.    In addition, the Board of Trustees did not want to adopt the permanent findings of

the Senate Hearing Committee which noted in its response to the Board’s demand for specific fact

finding that there was evidence of systemic racism and professors of color were treated differently.

To be sure, if the Board of Trustees would have done their proper duty and not conspired to protect

the reputation of the University, the Board would have conceded that there were significant

problems at the University with racism and other professors and employees in protected status; the

best way to avoid those truthful issues was to sacrifice Dr. Kalyango and claim the Senate Hearing

Committee’s conclusions were simply wrong.



                                                47
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 48 of 60 PAGEID #: 48




        172.   Such conduct by the Board of Trustees violates every premise of employment law,

and clearly establishes that Dr. Kalyango’s termination was without cause and in breach of the

tenure agreement and contract.

        173.   As a direct and proximate result of the decisions made by the Board of Trustees,

Dr. Kalyango has sustained damages including loss of income, loss of reputation, loss of tenured

employment remuneration, emotional injury, and loss of his business profession.

                                            Count Ten
                                            Retaliation

        174.   Plaintiff Kalyango incorporates herein as if fully rewritten paragraphs 1-173.

        175.   As mentioned previously in this Complaint, Dr. Kalyango was subjected to

retaliation by Dr. Sweeney, Director Stewart, and Dean Titsworth, along with the Board of

Trustees for the mere act of defending his rights and demanding that the University follow its own

policies and procedures as set forth in the Faculty Handbook.

        176.   The Faculty Handbook prohibits retaliation in any form, and even though Dr.

Kalyango has made parallel allegations before administrative agencies, including the Ohio Civil

Rights Commission, with respect to retaliation based upon his protected status, the retaliation as

set forth herein was much more pervasive and that whenever Dr. Kalyango would complain about

any aspect of the process or procedure, the intensity and conduct of the University increased to

harm him.

        177.   The retaliatory aspect of the University’s conduct, along with its employees and

agents, including the Board of Trustees, is particularly frustrating because again, there are specific

policies the University is required to enforce with respect to retaliation and yet the University has

tolerated this action in an effort to accomplish its preset goal which is to destroy Dr. Kalyango and

his career.

                                                 48
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 49 of 60 PAGEID #: 49




       178.    As a direct and proximate result of the retaliatory actions of the University,

including the Board of Trustees, Professor Sweeney, Director Stewart, and Dean Titsworth, Dr.

Kalyango has suffered severe damages, economic loss and damage to his reputation as aforesaid.

                                          Count Eleven
                                      Public Policy Violation

       179.    Plaintiff Kalyango incorporates herein as if fully rewritten paragraphs 1 through

178.

       180.    Ohio public policy dictates that public agencies, such as Ohio University, must

follow the highest standards with respect to their own policies and procedures. A violation of the

policies and procedures to the detriment of an employee or any member of the public, is a violation

of Ohio public policy which mandates that public universities set the standard of fairness and fair

dealing.

       181.    As set forth herein, Ohio University in all situations involving Dr. Kalyango

intentionally, wantonly and recklessly violated its policies and procedures all for a preset outcome

of de-tenuring Dr. Kalyango, to make an example of Dr. Kalyango, and to prohibit the public from

knowing the truth about the activities that were ongoing at the University.

       182.    Such conduct, in an effort to protect the University’s image and reputation, at the

expense of Dr. Kalyango, one of its most highly decorated and erudite professors is a violation of

public policy, and contrary to law.

       183.    As a direct and proximate result of Ohio University’s violation of public policy, Dr.

Kalyango has been terminated, without cause, and inconsistent with the fact finding body created

by the University to determine whether or not the charges against him were substantiated. The

Board of Trustees’ decision to overturn the decision of the Senate Hearing Committee is an




                                                49
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 50 of 60 PAGEID #: 50




example of a violation of public policy, and is not in the best interests of the public and the policies

of Ohio.

        184.    As a direct and proximate result of the conduct of Ohio University, Dr. Kalyango

has suffered economic loss, damage to his reputation, loss of tenured employment remuneration,

and a loss of his vocation.

                                      Count Twelve
                    (Breach of Employment Contract/Detrimental Reliance)

        185.    Dr. Kalyango incorporates herein as if fully rewritten paragraphs 1-185.

        186.    As a tenured professor Dr. Kalyango had contractual protections established by the
Faculty Handbook and the implied protections followed by Ohio University historically and for
other professors, especially those professors who were not employees of color.

        187.    Pursuant to these contractual protections, Dr. Kalyango was entitled to rely upon
Ohio University policy and procedures set forth in the Faculty Handbook as well as Ohio
University’s obligation of good faith and fair dealing regarding his employment.

        188.    In reliance on these clear responsibilities, Dr. Kalyango worked his way to full

professorship in record time, and was offered tenure, with the implied promise that his position as

the university was secure and that despite his protected status, he would be accorded fair treatment

and good faith in all his encounters with the University. In exchange for this reliance, Dr. Kalyango

worked tirelessly, authoring books and authoritative articles, while traveling the world as an

ambassador for Ohio University, establishing good will and obtaining grants for the University in

millions of dollars. Ohio University was the direct beneficiary of these efforts.

        189.    Once the false allegations were presented against Dr. Kalyango, Ohio University

engaged in a series of contract breaches, including the complete and utter failure to follow the

same policies and procedures imposed upon Dr. Kalyango, while Dr. Kalyango, relying upon the


                                                  50
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 51 of 60 PAGEID #: 51




misrepresentations of the University, continued to cooperate in the flawed investigation, and

process, following all of the procedure and policy without fail, only to have the University breach

the policy repeatedly in order to terminate him without cause.

       190.    The University created a policy where the last stage of the process of termination

was the only chance for due process, which included an evidentiary hearing so that for the first

time, real evidence could be presented and challenged. Dr. Kalyango followed the process,

participated in the hearing, presented witnesses from all over the world to speak the truth about his

history and demonstrated the baseless nature of the complaints against him. Dr. Kalyango

overwhelmingly prevailed in that process, as the Senate Committee overwhelmingly found there

was inadequate evidence to support the claims, and Dr. Kalyango was damaged and harmed by

the flawed process, including a protected investigation spanning more than two years.

       191.    As a direct and proximate result of Ohio University’s breach of contract, upon

which Dr. Kalyango detrimentally relied, he has been terminated, losing his vocation, reputation

and all of his scholarship devoted to Ohio University.

       192.    As a direct and proximate result of Ohio University’s breach of contract, Dr.

Kalyango has suffered monetary damages including economic loss, loss of tenured employment

remuneration, emotional damages and permanent damage to his reputation.

                                       Count Thirteen
                      (Breach of Contract/ Good Faith and Fair Dealing)

       193.    Dr. Kalyango incorporates herein as if fully rewritten paragraphs 1-192.

       194.    Every contractual agreement has an implied duty of good faith and fair dealing.

       195.    The contractual agreement between Dr. Kalyango and Ohio University had the duty
of good faith and fair dealing. This implied agreement was breached by Ohio University in
countless ways, including but not limited to:

                                                 51
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 52 of 60 PAGEID #: 52




                 a. Refusing to conduct a prompt investigation

                 b. Refusing to retain or assign a trained university-experienced investigator

                 c. Refusing to protect confidentiality

                 d. Failing to follow the procedures mandated by its Faculty Handbook all to the
                 detriment of Dr. Kalyango

                 e. Allowing Professor Sweeney to become involved in the investigation and
                 prosecution of Dr. Kalyango

                 f. Allowing Director Stewart to change procedure to ensure the college would
                 present a recommendation of detenuring to the Provost

                 g. Ignoring Dr. Kalyango’s requests for diversity in all review committees

                 h. Prematurely placing Dr. Kalyango on administrative leave after he continued to
                 teach for more than a year after the false complaint was made

                 i. Allowing the investigator to reopen a closed investigation after the investigator
                 was named a defendant in a lawsuit

                 j. Board of Trustees refusing and overruling the conclusion that the investigation
                 and underlying claims were unsubstantiated; and reversing the decision of the
                 Senate Hearing Committee after this Committee properly and lawfully concluded
                 Dr. Kalyango should be vindicated and reinstated to his teaching duties.

                 k. Board of Trustees conspiring to harm Dr. Kalyango under the guise of prohibiting
                 discrimination.

          196.   As a direct and proximate result of Ohio University’s breach of good faith and fair
dealing      Dr. Kalyango has suffered monetary damages including economic loss, emotional
damages loss of tenured employment remuneration, and permanent damage to his reputation.


                                                  52
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 53 of 60 PAGEID #: 53




                                          Count Fourteen
                                   (Breach of Contract and Policy

       197.    Plaintiff Kalyango incorporates herein as if fully rewritten Paragraphs 1 through
196.

       198.    At all times, defendant Ohio University insisted that plaintiff Kalyango follow all
the policies and procedures regulating the investigation and the potential loss of tenure process.

       199.    At all times material, plaintiff Kalyango followed those requirements, including

meeting all deadlines and timelines while Ohio University regularly and routinely failed to follow

its own policies and procedures.

       200.    After it was discovered that school director Robert Stewart breached the school and

college policy with respect to investigating and obtaining votes from a Promotion & Tenure

Committee from professors within the school regarding the loss of tenure issue, Ohio University

took no action. The University ratified the unlawful conduct, which even the Dean of the college

admitted in the Senate Hearing Committee to be improper. Director Stewart chose only those

professors he believed would support his position which was prejudicial to plaintiff Kalyango.

       201.    In those individually scheduled secretive meetings, only six professors indicated a

vote for loss of tenure to Director Stewart, but nonetheless, he accepted that recommendation in

clear violation of policy. Ohio University relied on this false premise and took no action to remedy

the breach, which ultimately resulted in Dr. Kalyango’s termination even though the only group

to provide him due process– the Senate Hearing Committee found the claims were unsubstantiated.

       202.    The University also knew that at least one professor, Professor Sweeney, was
conspiring to harm Dr. Kalyango by threatening and retaliating against other professors who did
not support the suggestion that plaintiff Kalyango should lose his tenure at the University.




                                                53
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 54 of 60 PAGEID #: 54




       203.    Professor Sweeney asserted pressure on other professors to undermine and harm

plaintiff Kalyango throughout the process and throughout the investigation process, and further

conspired with the involved alleged complaining witnesses to encourage them to falsify and

create improper information, all which was utilized against plaintiff Kalyango.

       204.    These facts and many others as alleged herein were known to Ohio University, and

no action was taken. These undisputed facts were proven at the Senate Committee hearing, and in

part relied upon by the Senate Hearing Committee to prove the unfairness of the process leveled

against Dr. Kalynago. These same undisputed facts were captured within a transcript allegedly

reviewed by the Board of Trustees, who then ratified the improper and contractually prohibited

conduct, all in an effort to harm Dr. Kalyango. The only explanation for the conduct of the Board

of Trustees in ignoring violation after violation of policy by the University is an underlying

conspiracy to make an example of Dr. Kalyango based on motives the Board of Trustees are

unwilling to publicly acknowledge.

       205.    Ohio University’s decision to take no action knowing that a conspiracy existed and

that professors were engaging in a breach of policy and unlawful conduct is a tacit admission that

the process was flawed because no action was taken.

       206.    As a direct and proximate result of Ohio University’s failure to follow its own

policies, and ratifying the conduct of its professors to engage in unlawful and discriminatory

conduct, plaintiff Kalyango has sustained damages including loss of income, loss of reputation,

emotional injury, loss of tenured employment remuneration, and loss of his business profession.




                                               54
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 55 of 60 PAGEID #: 55




                                        Count Fifteen
                               Breach of Administrative Policies

       207.    Plaintiff Kalyango incorporates herein as if fully rewritten Paragraphs 1 through
206.

       208.    Pursuant to the Ohio University Faculty Handbook regarding tenure and loss of

tenure, plaintiff Kalyango was entitled to a hearing before a Faculty Senate Hearing Committee

which consisted of third-term Senators who are university professors, and who were selected by

the Faculty Senate.

       209.    These professors had no affiliation in the investigation and had no direct contact

with Dr. Kalyango throughout the protracted investigation.

       210.    Based upon the policy and procedure, a hearing was conducted on December 10th

and December 11th, 2020 in which the Senate Hearing Committee functioned in the capacity of a

jury to listen to evidence presented by both Ohio University in prosecuting Dr. Kalyango seeking

de-tenuring, and the defense offered by Dr. Kalyango.

       211.    Before the hearing - which was the first time Dr. Kalyango had been provided due

process which he had been requesting since 2017 – Dr. Kalyango asked for an extended hearing

given the number of witnesses that he felt were necessary to provide a defense. This request was

rejected.

       212.    Ohio University designated all aspects of the hearing including the time allotted for

the defense, the manner and time limitations for both the direct examination and cross-examination

of witnesses, and the specific burden of proof. All these policies and procedures were based upon

directives mandated by Ohio University, and all these policies and procedures were accepted by

Ohio University’s counsel, and all Ohio University representatives, without objection.




                                                55
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 56 of 60 PAGEID #: 56




       213.    Following the two-day hearing, the Senate Hearing Committee ruled
overwhelmingly that Ohio University failed to meet its burden of proof, that the allegations against
Dr. Kalyango were unsubstantiated, and that there was systemic racism within the University, both
historically and with respect to Dr. Kalyango.

       214.    The Senate Hearing Committee, which provided due process to plaintiff Kalyango

for the first time, ruled that the de-tenuring process should end and that plaintiff Kalyango should

be reinstated to his position as a full tenured professor.

       215.    The decision by the Senate Hearing Committee was then reviewed by the Board of

Trustees who allegedly were interested in an objective analysis of the hard work and effort put

forth by the Faculty Senate.

       216.    Instead of accepting the decision by the fact finders, the Board of Trustees issued

objections, but the objections mainly challenged the same procedure and policy dictated by Ohio

University.

       217.    In other words, the Board of Trustees objected to the burden of proof, and other

issues regarding the presentation of evidence, all of which were mandated by Ohio University and

accepted by Ohio University’s counsel throughout the entire proceeding.

       218.    It is particularly insidious that the Board of Trustees objected to policy and

procedure that Ohio University authorized only because the outcome was inconsistent with the

preset determination to make an example of Dr. Kalyango and terminate him regardless of the

evidence. This is particularly problematic because throughout the entire investigation process

which lasted more than two years, plaintiff Kalyango continually complained about Ohio

University’s failure to follow its own policies.

       219.    Dr. Kalyango asserts that the Board of Trustees conspired to overturn the decision

of the Senate Hearing Committee because the Board wanted to make a public statement against

                                                   56
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 57 of 60 PAGEID #: 57




sexual harassment, knowing the University had tolerated and condoned far worse conduct by other

professors.

       220.    In addition, the Board of Trustees did not want to adopt the permanent findings of

the Senate Hearing Committee which noted in its response to the Board’s demand for specific fact

finding that there was evidence of systemic racism and professors of color were treated differently.

To be sure, if the Board of Trustees would have done their proper duty and not conspired to protect

the reputation of the University, the Board would have conceded that there were significant

problems at the University with racism and other professors and employees in protected status; the

best way to avoid those truthful issues was to sacrifice Dr. Kalyango and claim the Senate Hearing

Committee’s conclusions were simply wrong.

       221.    Such conduct by the Board of Trustees violates every premise of employment law,

and clearly establishes that Dr. Kalyango’s termination was without cause and in breach of the

tenure agreement and contract.

       222.    As a direct and proximate result of the decisions made by the Board of Trustees,

Dr. Kalyango has sustained damages including loss of income, loss of reputation, loss of tenured

employment remuneration, emotional injury, and loss of his business profession.

                                        Count Sixteen
                                     Public Policy Violation

       223.    Plaintiff Kalyango incorporates herein as if fully rewritten paragraphs 1 through
222.

       224.    Ohio public policy dictates that public agencies, such as Ohio University, must

follow the highest standards with respect to their own policies and procedures. A violation of the

policies and procedures to the detriment of an employee or any member of the public, is a violation




                                                57
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 58 of 60 PAGEID #: 58




of Ohio public policy which mandates that public universities set the standard of fairness and fair

dealing.

       225.    As set forth herein, Ohio University in all situations involving Dr. Kalyango

intentionally and wantonly and recklessly violated its policies and procedures all for a preset

outcome de-tenuring Dr. Kalyango, to make an example of Dr. Kalyango, and to prohibit the public

from knowing the truth about the activities that were ongoing at the University.

       226.    Such conduct, in an effort to protect the University’s image and reputation, at the

expense of Dr. Kalyango, one of its most highly decorated and erudite professors is a violation of

public policy, and contrary to law.

       227.    As a direct and proximate result of Ohio University’s violation of public policy, Dr.

Kalyango has been terminated, without cause, and inconsistent with the fact-finding body created

by the University to determine whether or not the charges against him were substantiated. The

Board of Trustees’ decision to overturn the decision of the Senate Hearing Committee is an

example of a violation of public policy, and not in the best interests of the public and the policies

of Ohio.

       228.    As a direct and proximate result of the conduct of Ohio University, Dr. Kalyango

has suffered economic loss, damage to his reputation, loss of tenured employment remuneration,

and a loss of his vocation.

       Wherefore, Plaintiff, Dr. Yusuf Kalyango, requests the Court grant the following relief:

       A:       Declare that the acts and conduct of Ohio University constitute violations of Title

               VII, 42 USC 200e, the Civil Rights Act of 1991, 42 USC 1981a, the Ohio Civil

               Rights Act, ORC 4112.01 et.seq., and 42 USC 1981, ORC 4112.02 et. seq and the

               common law of Ohio.



                                                 58
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 59 of 60 PAGEID #: 59




     B.    Grant a permanent injunction enjoining Ohio University and its officers, agents,

           employees, and all persons in active participation from engaging in any

           employment practices which discriminate in any way, including discrimination on

           the basis of gender, race, national origin and retaliation.

     C.    Order Ohio University to institute and otherwise carry out policies, practices, and

           programs that provide equal opportunities for all employees, and which eradicates

           the effects of past and present unlawful employment practices.

     D.    Order Ohio University to reinstate Dr. Kalyango to his full professor tenured status

           and to make him whole by providing appropriate back pay with prejudgment

           interest and for other affirmative relief necessary to eradicate the effects of its

           unlawful employment practices.

     E.    Grant to Dr. Kalyango against Ohio University appropriate compensatory and

           exemplary damages, in an amount in excess of Seventy-Five Thousand Dollars

           ($75,000.00), along with the costs of this action including statutory reasonable

           attorney fees as provided by statute.

     F.    Such other relief as the Court deems just, appropriate and proper in the public

           interest.




                                             59
Case: 2:22-cv-02028-ALM-EPD Doc #: 1 Filed: 04/22/22 Page: 60 of 60 PAGEID #: 60




                                                  Respectfully submitted,


                                                  s/Gregory A. Beck
                                                  Gregory A. Beck (0018260)
                                                  Mel L. Lute, Jr. (0046752)
                                                  Andrea K. Ziarko (0073755)
                                                  BAKER | DUBLIKAR
                                                  400 S. Main Street
                                                  North Canton, Ohio 44720
                                                  e-mail: beck@bakerfirm.com
                                                  lute@bakerfirm.com
                                                  andreaz@bakerfirm.com
                                                  Telephone:     (330) 499-6000
                                                  Telecopier: (330) 499-6423
                                                  Counsel for Plaintiff, Yusuf Kalyango


                                     JURY DEMAND

     A trial by jury is demanded herein on all issues presented to the Court.




                                                  s/Gregory A. Beck
                                                  Gregory A. Beck (0018260)
                                                  Mel L. Lute, Jr. (0046752)
                                                  Andrea K. Ziarko (0073755)
                                                  BAKER | DUBLIKAR, BECK




                                             60
